        3:20-cv-02097-JMC       Date Filed 05/31/22    Entry Number 65      Page 1 of 1




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF SOUTH CAROLINA
                                   COLUMBIA DIVISION

 STUART POUND,                                )
                                              )       Civil Action No. 3:20-CV-02097-JMC
                Plaintiffs,                   )
          vs.                                 )
                                              )             Plaintiff’s Witness List
 WILCOX MARKETING, INC.,                      )
                                              )
                Defendant.                    )
                                              )
                                              )
                                              )

   1.    Deputy Shawn Mohundro
   2.    Stuart Pound
   3.    Chelly Pound
   4.    Dr. Peter Bailey
   5.    Glenn Brown

                                           KASSEL MCVEY, ATTORNEYS AT LAW

                                           s/John D. Kassel
                                           John D. Kassel, Federal I.D. 2278
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May 31, 2022

Columbia, South Carolina.
